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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY

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 Shapes/Arch Holdings L.L.C., et al.


 In re:                                             Chapter 11

 SHAPES/ARCH HOLDINGS L.L.C., et al.,               Case No. 08-14631
                                                    (Jointly Administered)
                       Debtors.
                                                    Judge: Hon. Gloria M. Burns, USBJ


      APPLICATION FOR AN ORDER APPROVING THE EMPLOYMENT AND
     RETENTION OF J.H. COHN LLP AS FINANCIAL ADVISOR AND FORENSIC
    ACCOUNTANT TO THE OFFICIAL COMMITTE OF UNSECURED CREDITORS
                PURSUANT TO 11 U.S.C. §§ 328(a) AND 1103(b)


 TO:      HONORABLE GLORIA M. BURNS
          UNITED STATES BANKRUPTCY JUDGE



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           The Official Committee of Unsecured Creditors (the “Committee”) of Shapes/Arch

 Holdings L.L.C., et al. (the “Debtors”) as and for its application for entry of an Order approving

 the retention of J.H. Cohn LLP (“JHC”) as the Committee’s financial advisor and forensic

 accountant pursuant to 11 U.S.C. §§ 328(a) and 1103(b), respectfully states as follows:

           1.        On March 16, 2008, (the “Filing Date”), Shapes/Arch Holdings L.L.C. and its

 affiliated entities 1 each filed a voluntary petition for relief pursuant to Chapter 11 of Title 11,

 United States Code (the “Bankruptcy Code”). Since the Filing Date, the Debtors have remained

 in possession of their assets and continued in management of their businesses as debtors-in-

 possession pursuant to Section 1107 and 1108 of the Bankruptcy Code.

           2.        On March 31, 2008, the Office of the United States Trustee formally appointed

 the Committee. The Committee consists of the following members: (a) Alcan Aluminum Corp.;

 (b) Rusal America Corp.; (c) United Parcel Service; (d) Perfect Trade Development Co.; (e) Coil

 Plus; (f) Acme Corrugated Box; (g) Glencore Ltd.; (h) Colorworks Graphics, Inc.; and (i)

 PSE&G. The Committee elected Alcan Aluminum Corp. and of Rusal America Corp. as Co-

 Chairs.

           3.        At the March 31, 2008 meeting, the Committee voted to retain JHC as its

 financial advisor and forensic accountant in this matter to perform the following services:

           a) Review reasonableness of the DIP facilities as to its cost to the Debtors and the

                 likelihood that Debtors will be able to comply with the terms.

           b) Review the DIP facilities as to whether they provide sufficient liquidity.

           c) Analyze and review key motions as to financial issues.

           d) Gain an understanding of Debtors’ corporate structure, including non-debtor entities.
           1
               Shapes L.L.C., Delair L.L.C., Acu-Weld L.L.C. and Ultra L.L.C.

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           e) Perform a preliminary assessment of the Debtors’ 13-week budget.

           f) Establish reporting procedures that will allow for the monitoring of the Debtors’ post-

                petition operations.

           g) Develop and evaluate alternative sale and restructuring strategies.

           h) Gain an understanding of Debtors’ accounting systems.

           i) Scrutinize proposed transactions, including the assumption and/or rejection of

                executory contracts.

           j) Review the reasonableness and necessity of any proposed key employee retention

                plan.

           k) Identify, analyze and investigate transactions with non-debtor entities and other

                related parties.

           l) Monitor Debtors’ weekly operating results, availability and borrowing base

                certificates, if applicable.

           m) Participate in the establishment and monitoring of any proposed sales process and

                supplement list of potential buyers.

           n) Communicate findings to the Committee.

           o) Identify and quantify any recoverable assets which are not in the Debtors’ estates.

           p) Assist the Committee in negotiating the key terms of a Plan of Reorganization.

           q) Review the nature and origin of other significant claims asserted against the Debtors.

           r) Prepare dividend analysis.

           s) Validate the Debtors’ business plan projections and liquidation analysis.

           t) Render such other assistance as the Committee and its counsel may deem necessary.




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           4.        The Committee has selected JHC because of the firm’s considerable experience in

 insolvency and forensic accounting, in the manufacturing and distribution industry, as well as in

 other areas applicable to this Chapter 11 proceeding. The services to be rendered by JHC are

 necessary and essential to the performance of the Committee’s duties and obligations, and will

 not duplicate the services to be rendered by any other professionals in this case.

           5.        As evidenced by the accompanying Affidavit of Bernard A. Katz, JHC does not

 hold or represent any interest adverse to the Debtors, their estates or creditors, and is a

 disinterested person within the meaning of Section 101(14) of the Bankruptcy Code.

           6.        It is the Committee’s understanding that JHC will be submitting detailed

 statements to the Court setting forth the services rendered and seeking compensation and

 reimbursement of expenses. The Committee also understands that JHC will be applying to the

 Court for authority to be paid its fees and expenses pursuant to its obligation under the

 Bankruptcy Code or any administrative fee procedure which may be established, to which the

 Committee consents.

           7.        Because of a number of emergent matters pending with the Court in this case, the

 Committee requested that JHC immediately begin work on the scope items outlined above. It is

 therefore respectfully requested that JHC’s retention be approved effective as of March 31, 2008.




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           WHEREFORE, the Committee respectfully requests that the Court enter an Order

 approving the Committee’s retention of J.H. Cohn LLP, effective as of March 31, 2008, as its

 financial advisor and forensic accountant and granting such other relief as the Court deems just

 and appropriate under the circumstances.

 Dated: April 3, 2008

                                              THE OFFICIAL COMMITTEE OF UNSECURED
                                              CREDITORS OF SHAPES/ARCH HOLDINGS,
                                              L.L.C., et al., by its Co-Chairs


                                              RUSAL AMERICA CORP.


                                              By:     /s/ Richard Kellner
                                                     Name: Richard Kellner
                                                     Title: COO

                                                             And


                                              ALCAN ALUMINUM CORP.


                                              By:      /s/Brian Bull
                                                     Name: Brian Bull
                                                     Title: Credit Manager




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